            Case 2:23-cv-01495-JHC           Document 318        Filed 10/25/24      Page 1 of 5




 1                                                               THE HONORABLE JOHN H. CHUN

 2

 3

 4

 5

 6                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8

 9                                                              CASE NO.: 2:23-cv-01495-JHC

10    FEDERAL TRADE COMMISSION, et al.,                         PLAINTIFFS’ MOTION FOR
                                                                LEAVE TO FILE OVER-LENGTH
11                      Plaintiffs,                             BRIEF RE: FORTHCOMING
                                                                MOTION TO COMPEL
12                 v.                                           REGARDING CUSTODIANS AND
                                                                SEARCH TERMS
13    AMAZON.COM, INC., a corporation,

14                      Defendant.                              NOTE ON MOTION CALENDAR:
                                                                October 25, 2024
15

16

17          On October 30, 2024, pursuant to the Court’s October 18, 2024 Order (Dkt. #310),

18   Plaintiffs anticipate filing a motion to compel regarding certain custodian and search term

19   disputes (“Motion”). Pursuant to Local Civil Rule 7(f), Plaintiffs request permission to file an

20   over-length brief containing up to 7,000 words.

21          While the parties are continuing to discuss custodians and search terms, and Plaintiffs are

22   hopeful that the parties will be able to resolve or narrow their outstanding issues, Plaintiffs may

23   move to compel with respect to a significant number of custodian and search term disputes. The

24   requested extension would aid the Court’s consideration of Plaintiffs’ Motion by allowing the

     PLAINTIFFS’ MOTION FOR LEAVE TO FILE                               FEDERAL TRADE COMMISSION
     OVER-LENGTH BRIEF - 1                                                  600 Pennsylvania Avenue, NW
     CASE NO. 2:23-cv-01495-JHC                                                    Washington, DC 20580
                                                                                          (202) 326-2222
             Case 2:23-cv-01495-JHC          Document 318         Filed 10/25/24      Page 2 of 5




 1   parties sufficient space to address the need for disputed custodians, who have different

 2   responsibilities related to different aspects of this complex case. The parties will also need to

 3   separately address various categories of search terms, which likewise relate to different aspects

 4   of the case.

 5           The parties have met and conferred regarding Plaintiffs’ request to file an over-length

 6   brief, and Amazon takes no position. This is the first word extension Plaintiffs have requested in

 7   this litigation.

 8           For the foregoing reasons, Plaintiffs respectfully request that the Court allow Plaintiffs to

 9   file an over-length brief of no more than 7,000 words in support of its Motion. Pursuant to Local

10   Civil Rule 7(f)(4), Amazon will be entitled to the same extension for its opposition. The length

11   of Plaintiffs’ reply will also be governed by Local Civil Rule 7(f)(4).

12
                                                    s/ Michael Baker
13                                                  SUSAN A. MUSSER (DC Bar # 1531486)
                                                    EDWARD H. TAKASHIMA (DC Bar # 1001641)
14                                                  MICHAEL BAKER (DC Bar # 1044327)
                                                    Federal Trade Commission
15                                                  600 Pennsylvania Avenue, NW
                                                    Washington, DC 20580
16                                                  Tel.: (202) 326-2122 (Musser)
                                                           (202) 326-2464 (Takashima)
17                                                  Email: smusser@ftc.gov
                                                           etakashima@ftc.gov
18                                                         mbaker1@ftc.gov

19                                                  Attorneys for Plaintiff Federal Trade Commission

20

21

22

23

24
     PLAINTIFFS’ MOTION FOR LEAVE TO FILE                               FEDERAL TRADE COMMISSION
     OVER-LENGTH BRIEF - 2                                                  600 Pennsylvania Avenue, NW
     CASE NO. 2:23-cv-01495-JHC                                                    Washington, DC 20580
                                                                                          (202) 326-2222
           Case 2:23-cv-01495-JHC         Document 318      Filed 10/25/24     Page 3 of 5




 1   s/ Michael Jo                                   s/ Timothy D. Smith
     Michael Jo (admitted pro hac vice)              Timothy D. Smith, WSBA No. 44583
 2   Assistant Attorney General, Antitrust Bureau    Senior Assistant Attorney General
     New York State Office of the Attorney           Antitrust and False Claims Unit
 3   General                                         Oregon Department of Justice
     28 Liberty Street                               100 SW Market St
 4   New York, NY 10005                              Portland, OR 97201
     Telephone: (212) 416-6537                       Telephone: (503) 934-4400
 5   Email: Michael.Jo@ag.ny.gov                     Email: tim.smith@doj.state.or.us
     Counsel for Plaintiff State of New York         Counsel for Plaintiff State of Oregon
 6
     s/ Rahul A. Darwar                              s/ Jennifer A. Thomson
 7   Rahul A. Darwar (admitted pro hac vice)         Jennifer A. Thomson (admitted pro hac vice)
     Assistant Attorney General                      Senior Deputy Attorney General
 8   Office of the Attorney General of Connecticut   Pennsylvania Office of Attorney General
     165 Capitol Avenue                              Strawberry Square, 14th Floor
 9   Hartford, CT 06016                              Harrisburg, PA 17120
     Telephone: (860) 808-5030                       Telephone: (717) 787-4530
10   Email: Rahul.Darwar@ct.gov                      Email: jthomson@attorneygeneral.gov
     Counsel for Plaintiff State of Connecticut      Counsel for Plaintiff Commonwealth of
11                                                   Pennsylvania
     s/ Alexandra C. Sosnowski
12   Alexandra C. Sosnowski (admitted pro hac        s/ Michael A. Undorf
     vice)                                           Michael A. Undorf (admitted pro hac vice)
13   Assistant Attorney General                      Deputy Attorney General
     Consumer Protection and Antitrust Bureau        Delaware Department of Justice
14   New Hampshire Department of Justice             820 N. French St., 5th Floor
     Office of the Attorney General                  Wilmington, DE 19801
15   One Granite Place South                         Telephone: (302) 683-8816
     Concord, NH 03301                               Email: michael.undorf@delaware.gov
16   Telephone: (603) 271-2678                       Counsel for Plaintiff State of Delaware
     Email: Alexandra.c.sosnowski@doj.nh.gov
17   Counsel for Plaintiff State of New Hampshire    s/ Christina M. Moylan
                                                     Christina M. Moylan (admitted pro hac vice)
18   s/ Robert J. Carlson                            Assistant Attorney General
     Robert J. Carlson (admitted pro hac vice)       Chief, Consumer Protection Division
19   Assistant Attorney General                      Office of the Maine Attorney General
     Consumer Protection Unit                        6 State House Station
20   Office of the Oklahoma Attorney General         Augusta, ME 04333-0006
     15 West 6th Street, Suite 1000                  Telephone: (207) 626-8800
21   Tulsa, OK 74119                                 Email: christina.moylan@maine.gov
     Telephone: (918) 581-2885                       Counsel for Plaintiff State of Maine
22   Email: robert.carlson@oag.ok.gov
     Counsel for Plaintiff State of Oklahoma
23

24
     PLAINTIFFS’ MOTION FOR LEAVE TO FILE                         FEDERAL TRADE COMMISSION
     OVER-LENGTH BRIEF - 3                                            600 Pennsylvania Avenue, NW
     CASE NO. 2:23-cv-01495-JHC                                              Washington, DC 20580
                                                                                    (202) 326-2222
           Case 2:23-cv-01495-JHC          Document 318      Filed 10/25/24     Page 4 of 5




 1   s/ Gary Honick                                   s/ Lucas J. Tucker
     Gary Honick (admitted pro hac vice)              Lucas J. Tucker (admitted pro hac vice)
 2   Assistant Attorney General                       Senior Deputy Attorney General
     Deputy Chief, Antitrust Division                 Office of the Nevada Attorney General
 3   Office of the Maryland Attorney General          100 N. Carson St.
     200 St. Paul Place                               Carson City, NV 89701
 4   Baltimore, MD 21202                              Telephone: (775) 684-1100
     Telephone: (410) 576-6470                        Email: LTucker@ag.nv.gov
 5   Email: Ghonick@oag.state.md.us                   Counsel for Plaintiff State of Nevada
     Counsel for Plaintiff State of Maryland
 6                                                    s/ Andrew Esoldi
     s/ Katherine W. Krems                            Andrew Esoldi (admitted pro hac vice)
 7   Katherine W. Krems (admitted pro hac vice)       Deputy Attorney General
     Assistant Attorney General, Antitrust Division   New Jersey Office of the Attorney General
 8   Office of the Massachusetts Attorney General     124 Halsey Street, 5th Floor
     One Ashburton Place, 18th Floor                  Newark, NJ 07101
 9   Boston, MA 02108                                 Telephone: (973) 648-7819
     Telephone: (617) 963-2189                        Email: andrew.esoldi@law.njoag.gov
10   Email: katherine.krems@mass.gov                  Counsel for Plaintiff State of New Jersey
     Counsel for Plaintiff Commonwealth of
11   Massachusetts                                    s/ Jeffrey Herrera
                                                      Jeffrey Herrera (admitted pro hac vice)
12   s/ Scott A. Mertens                              Assistant Attorney General
     Scott A. Mertens (admitted pro hac vice)         New Mexico Office of the Attorney General
13   Assistant Attorney General                       408 Galisteo St.
     Michigan Department of Attorney General          Santa Fe, NM 87501
14   525 West Ottawa Street                           Telephone: (505) 490-4878
     Lansing, MI 48933                                Email: jherrera@nmag.gov
15   Telephone: (517) 335-7622                        Counsel for Plaintiff State of New Mexico
     Email: MertensS@michigan.gov
16   Counsel for Plaintiff State of Michigan          s/ Zulma Carrasquillo Almena
                                                      Zulma Carrasquillo Almena (admitted pro hac
17   s/ Zach Biesanz                                  vice)
     Zach Biesanz (admitted pro hac vice)             Puerto Rico Department of Justice
18   Senior Enforcement Counsel                       P.O. Box 9020192
     Office of the Minnesota Attorney General         San Juan, Puerto Rico 00902-0192
19   445 Minnesota Street, Suite 1400                 Telephone: (787) 721-2900, Ext. 1211
     Saint Paul, MN 55101                             Email: zcarrasquillo@justicia.pr.gov
20   Telephone: (651) 757-1257                        Counsel for Plaintiff Commonwealth of Puerto
     Email: zach.biesanz@ag.state.mn.us               Rico
21   Counsel for Plaintiff State of Minnesota

22

23

24
     PLAINTIFFS’ MOTION FOR LEAVE TO FILE                          FEDERAL TRADE COMMISSION
     OVER-LENGTH BRIEF - 4                                             600 Pennsylvania Avenue, NW
     CASE NO. 2:23-cv-01495-JHC                                               Washington, DC 20580
                                                                                     (202) 326-2222
           Case 2:23-cv-01495-JHC         Document 318   Filed 10/25/24   Page 5 of 5




 1   s/ Stephen N. Provazza
     Stephen N. Provazza (admitted pro hac vice)
 2   Special Assistant Attorney General
     Chief, Consumer and Economic Justice Unit
 3   Department of the Attorney General
     150 South Main Street
 4   Providence, RI 02903
     Telephone: (401) 274-4400
 5   Email: sprovazza@riag.ri.gov
     Counsel for Plaintiff State of Rhode Island
 6
     s/ Sarah L.J. Aceves
 7   Sarah L.J. Aceves (admitted pro hac vice)
     Assistant Attorney General
 8   Public Protection Division
     Vermont Attorney General’s Office
 9   109 State Street
     Montpelier, VT 05609
10   Telephone: (802) 828-3170
     Email: Sarah.Aceves@vermont.gov
11   Counsel for Plaintiff State of Vermont

12   s/ Laura E. McFarlane
     Laura E. McFarlane (admitted pro hac vice)
13   Assistant Attorney General
     Wisconsin Department of Justice
14   Post Office Box 7857
     Madison, WI 53707-7857
15   Telephone: (608) 266-8911
     Email: mcfarlanele@doj.state.wi.us
16   Counsel for Plaintiff State of Wisconsin

17

18

19

20

21

22

23

24
     PLAINTIFFS’ MOTION FOR LEAVE TO FILE                     FEDERAL TRADE COMMISSION
     OVER-LENGTH BRIEF - 5                                        600 Pennsylvania Avenue, NW
     CASE NO. 2:23-cv-01495-JHC                                          Washington, DC 20580
                                                                                (202) 326-2222
